Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 1 of 30

Exhibit 17

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 2 of 30

MONTAGUE V. YALE UNIVERSITY January 10, 2017

 

Page l
UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF CONNECTICUT

CIVIL ACTION NO: 3:16 CV-OOSBS-AVC

__________________________________ X
JACK MONTAGUE,

Plaintiff,

_V_

YALE UNIVERSITY, ANGELA GLEASON,
And JASON KILLHEFFER,

Defendants.
__________________________________ X

Depositon of JASON KILLHEFFER, taken
pursuant to Notice, held at the Law Offices of Jacobs
& Dow, LLC, 350 Orange Street, New Haven, Connecticut,
before James A. Martone, LSR #248, and Notary Public,
in and for the State Of Connecticut, on January 10,

2017, at 10:05 a.m.

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electron|cal|y S|gnad by JAMES MARTONE (601-171-250-7767) 31a4d12d-8160-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 3 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 38
1 Q. So that could be in the first --
2 A. It could be in the first meeting.
3 Q. First meeting or it could be in a
4 subsequent meeting.
5 A. Could be in a subsequent meeting. Our

6 priority would be support options in the beginning, so
7 what of the support resources; Share, Yale police,

8 coordinator, what can we do to make accommodations in
9 the short-term.

10 If the individual is ready to talk

11 about other options, ready to talk about a formal

12 complaint or informal resolution options, we will

13 discuss that with them as well.

14 Q. All right.

15 A. If they're not ready to talk about it in

16 detail, we'll at least make sure they're aware that

17 those options exist and that we can talk to them about

18 them when they're ready.
19 Q. So at some point when they're ready, you

20 talk to them about it?

21 A. Yes.

22 Q. And what are those options?

23 A. So I'll separate them into support

24 resources which we just talked about, Share being the

25 primarily. Title IX Coordinator, being the support

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronically Signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-45a5-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 4 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 39

1 accommodations we can provide, which are available

2 across the board, no matter what other course you

3 take. So we try to make sure they're aware of that.

4 As far as complaint options, we tell

5 them about an informal resolution process, which 1 can

6 tell you more about. The formal complaint process,

7 which is a complaint to the university-wide committee.

8 And then we talk to them about the

9 criminal complaint process if it's -- if the behavior
10 alleged is something that might be criminal in nature.

11 And so we will review all three of those with them.
12 Q. And 1 take it another option would be to do

13 nothing, right?

14 A. That's correct.

15 Q. And you'd review that with them, with the
16 person as well?

17 A. That's correct.

18 Q. All right. Now if there is -- what do you
19 tell them about these various options?

20 A. I'll start with the police. We tell them
21 that first of all the, police have a Sensitive Crimes
22 Coordinator, who we can connect them with someone who

23 can simply talk to them. It's not a police report,
24 you're not filing a complaint. But it's someone who

25 can talk to you about what that process is like, and

 

 

 

Sanders, Gale & Russell
(203) 624-4157

E|eCtroniCally signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 5 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 40
1 they can do so in greater detail, and with more
2 experience than we can.
3 So we make sure they know that person
4 is available, just to chat. That person is also
5 available if the individual has any sort of immediate
6 safety concerns, and we will make sure we connect them

7 with that police contact.
8 We will make sure they're aware that

9 they can pursue any and all of these options, for

10 instance, you can pursue an informal complaint and
11 then ultimately choose to pursue a form am complaint
12 later. That one option doesn't foreclose the other.
13 We will also make sure they're aware
14 they can pursue a criminal complaint while also

15 pursuing a complaint through the university. So we

16 discuss that with them.

17 In the case of the formal complaint,
18 we can discuss what the procedure is like, and what
19 it's like to participate in a process like that. But
20 since Title IX Coordinators don't participate in that

21 process directly, we will also offer to facilitate a
22 conversation or connect them with someone at the UWC,
23 usually the Chair of the UCC, David Post, who could
24 answer more specifically and with more detail their

25 questions about what that process is like. So that's

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronically Signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-4585-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 6 of 30

MONTAGUE V. YALE UNIVERSITY January 10, 2017

 

Page 41

1 something we'll do.

2 On the informal, we will talk about

3 the range of options. Now oftentimes they're already
4 clear about what they want, or they have something

5 very specific that they want. Sometimes not so much.
6 But we will talk to them about the accommodations,

7 we'll talk to them about things like, you know,
8 contact orders, which we can work to facilitate. We

9 will talk about residential changes that they may be

10 interested in. And again, we sort of bundle those all
11 under the what we ca11 informal.

12 Q. Are there any other?

13 A. So there's a range of things. No contact

14 being probably the most common. Academic and

15 residential accommodations, Training options. At

16 times complainants want someone to simply have a

17 conversation with the respondent, and just deliver

18 some information about their experience and the

19 impact. So that's another sort of informal resolution

20 that people often ask for.

21 Q. What do you mean by training options?
22 A. So there's a range of training. I mean We
23 have one in particular that often is either mandated

24 by the UWC as a result of a case or a disciplinary

25 action or we can refer people over as a Title IX

 

 

 

Sanders, Gale & Russell
(203) 624-4157

E|ectronica||y signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-4585-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 7 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 42
1 Coordinator, although it's a voluntary referral, we
2 have no way to require someone to go to training.
3 Q. What is it?
4 A. We call this training conduct awareness
5 training. It's -- I've not participated in it myself.
6 It's conducted by an individual at the Share Center.

7 His name is John Criscuolo. And --

8 Q. Can you spell that?

9 A. C R I S C U O L O.
10 Q. All right.

11 A. I have, however, reviewed the materials

12 that are shared in that training, and it's essentially
13 from my view, a training that discusses behaviors, how
14 people experience those behaviors, what the impact of

15 behaviors are. It stresses things like self

16 awareness, being more aware of what you're doing.

17 Then also being empathetic and being aware of how what
18 you're doing impacts other people.

19 So it's a -- some people call it

20 sensitivity training, but we're sort of settled on the
21 term "conduct awareness." Just because it's a much

22 broader term and it really reflects the focus of that

23 training.
24 Q. All right.
25 A. So that is a training that we will refer

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronical|y Signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 8 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 45

1 the UWC process, which the procedures for the UWC

2 provide that any party in that process has the ability
3 to select anyone they want, as an advisor. The Share
4 Center frequently serves as advisors for the

5 complainants. So that's another role that they

6 fulfill.

7 So they don't, again, they have a

8 dotted line reporting relationship to us. As I said,
9 we in our role as overseeing the Title IX program at
10 Yale, ensure that their work is effective, that they
11 have the resources that they need. And we've actually
12 in the last five years increased their staffing.

13 We've increased their space that they've had allocated
14 in that building.
15 So those are examples of the ways in
16 which we've helped them do their work.

17 Q. If a person consults with the Share Center,
18 is that considered to be confidential?

19 A. Yes. The Share Center does not report to
20 our office. As I mentioned to you before, we are the
21 repository for reports that go to Title IX

22 Coordinators, or other administrators. But if an
23 individual goes to the Share Center, we do not know

24 about it.
25 Q. That would be if a complainant goes to a

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronica||y Signed by JAMES MARTON E (601-171-250-7767) 31a4d12d-8190-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 9 of 30

 

MONTAGUE v. YALE UNIVERSITY January 10, 2017
Page 46
1 Share Center?
2 A. That's right, or a respondent.
3 Q. Anybody who --
4 A. Anyone who goes to the Share Center, yes,

5 they are 1 believe shielded. They're technically a
6 rape crisis center so they're shielded under whatever
7 laws exist to sort of shield those conversations, so

8 they do not report to us.

9 Q. So if a person goes in and says 1 would

10 like counseling, the fact that that person is having
11 counseling at the Share Center would be considered to
12 being confidential?

13 A. That's right.

14 Q. And similarly, if the person is receiving
15 training, that would be confidential?

16 A. Well, one exception there. So as 1

17 mentioned to you, if a Title 1X Coordinator suggests
18 to a respondent that that individual go receive

19 training, we may not know whether or not they ever do
20 it, unless that individual confirms, says 1 went and 1

21 participated in this training. So they've self

22 disclosed, all right.

23 1f an individual through the UWC who
24 has as a result of a disciplinary action, been
25 required to seek training, and that's different than

 

 

 

Sanders, Gale & Russell
(203) 624-4157

E|ectronica||y signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81e0-45a5-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 10 of 30

MONTAGUE V. YALE UNIVERSITY January 10, 2017

 

Page 47
1 the Title 1X Coordinator suggesting, but if the UWC

2 has required that individual to seek training, then 1

3 do believe there's a record.
4 Q. You would know that?
5 A. 1 would not necessarily know that. The UWC

6 would generally find out. They track it.

7 Q. The UWC would know that.

8 A. Right.

9 Q. And it would be in one of these summaries,
10 correct?

11 A. Right.

12 Q. But this would not, if 1 went to the Share
13 Center and wanted to know if Jason Killheffer has

14 received training, they Will not tell me?

15 A. They will never answer your question,

16 exactly.

17 MR. NOONAN: When you get to a

18 convenient spot, can we take a short break?

19 MR. STERN: This is a good spot.
20 (Recess taken: 11 04-11:12 a.m.)
21 Q. Back on the record. So another informal

22 option, would that be mediation?

23 A. Maybe you can just describe to me how you
24 view mediation, or what you mean by that term.
25 Q. 1 think 1 saw it in something, some sort of

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronica||y signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 11 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 55
1 interested in a formal complaint, under what
2 circumstances could the university go forward on its
3 own?
4 MR. NOONAN: Can 1 ask you for a
5 clarification. Are you talking about sort of after
6 you've discussed all the options, and the Title 1X
7 Coordinator has given all the advice, there's a final
8 decision on the part of the complainant, 1 don't want
9 to go forward? Or are you talking about at the
10 outset?
11 Q. The complainant says 1 do not wish a formal
12 complaint to be filed.
13 A. Uh-huh.
14 Q. Under what circumstances, after being
15 advised, under what circumstances could the university
16 go forward?
17 A. Then we would have to evaluate the safety
18 concerns, and determine whether absent that
19 complainant's participation, would we go forward with
20 a formal complaint.
21 Q. Now if the -- the option that you've
22 described to us a moment ago was you might say to the
23 complainant one way to do it is for us to file the
24 complaint, if you participate, right?
25 A. Yes.

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronically Signed by JAMES MARTON E (601-171-250-7767) 31a4d12d-B1eO-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 12 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 56

1 Q. All right. But that would still depend

2 upon the complainant's participation, correct?

3 A. Well, that would be the question to the

4 complainant,

5 Q. Right.

6 A. Would you be willing to speak to a fact

7 finder, if the university brought a complaint on your
8 behalf.

9 Q. Okay. So if the complainant did not wish
10 to participate, then the only situation in which the
11 university would go forward would be if it determined
12 that there was a safety issue?
13 A. 1f it determined there was a safety issue

14 and if it determined that it could go forward absent
15 that complainant's participation, And that's gonna be
16 on a case by case basis.

17 Q. But there would have to be a safety issue,
18 correct?

19 A. Yes.

20 Q. All right.
21 A. And just to make that clear, the reason is
22 because in that situation, we would be essentially

23 overriding the complainant's stated wishes. Going

24 against their stated wishes.

25 Q. Now you've told us about the situation when

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronically signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 13 of 30

 

MONTAGUE v. YALE UNIVERSITY January 10, 2017
Page 93
l Q. 1n deciding essentially what you're going
2 to do or what you're going to recommend, right?
3 A. Right.
4 Q. What did you tell Angie Gleason about that,

5 when she first told you that she had received that
6 report?
7 A. 1 informed her that Jack Montague had had a

8 prior complaint that had gone through the UWC, and he

9 had been found in violation.
10 Q. All right.
11 A. That that would be something we would have
12 to take into consideration.
13 Q. And you told her that in the very first
14 conversation that you had with her about the

15 information she got from RaChe|ROgeE; right?

16 A. 1 believe 1 did.

17 Q. And that was before she had actually made
18 contact with Jane Roe

19 A. That's correct. Well, actually 1 don't

20 know. What she told me was she had not spoken to

21 Janei?Oe yet. So that 1 can say.

22 Q. What is the next thing you recall about
23 the --

24 A. Subsequent to that conversation with Miss
25 Gleason?

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronical|y signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-8190-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 14 of 30

 

MONTAGUE v. YALE UNIVERSITY January lO, 2017
Page 109
1 Montague until you could have a meeting with you,
2 Stephanie Spangler and Susan Sawyer?
3 A. We discussed that so that we could discuss
4 what the appropriate action would be in a Case such as
5 this.
6 Q. All right. So prior --
7 A. Prior to what, this date?
8 Q. Prior to -- at some point you had a meeting
9 with these various people, correct?
10 A. Absolutely.
11 Q. And prior to that time, you told Angie that
12 you wanted to schedule that meeting; is that correct?
13 A. Yes, 1 did.
14 Q. And you told Angie why you wanted to

15 schedule that meeting?
16 A. 1 told Angie we should review the

17 allegations with Stephanie and with Susan.

18 Q. All right. And you knew at that time that
19 Angie was proceeding along a path of effectuating an
20 informal resolution, correct?

21 A. 1 knew that she was in conversation with
22 Janei?Oe but not minute by minute, where

23 exactly they were in that process.

24 Q. Well, you knew that they were planning

25 to --

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronicaliy Signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 15 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 110

1 A. Let me -- an informal resolution does not

2 forego a formal complaint. So she could continue to

3 work with Roe and talk with ROe about what her

4 wishes are, which could change, okay. Knowing that we

5 were also going to have a meeting with Stephanie and

6 Susan.

7 Q. All right.

8 A. So if you're trying to draw -- 1'm not sure

9 what conclusion you're trying to draw from that.

10 Q. Did you tell Angie hold off on meeting with
11 Jack Montague until after we can have this meeting?

12 A. We discussed her intention to contact Jack

13 Montague. 1 believe at that point we must have

14 already had a meeting on the books, on our calendar
15 with Stephanie and Susan.

16 1n fact, it looks like it's two days
17 later, on the 4th. According to this exhibit. So at
18 that point, if she's talking on Monday, 1 say we're
19 meeting on Wednesday, before you do anything, why

20 don't we talk about what the right approach to this

21 is.

22 Q. All right.

23 A. So that's it.

24 Q. So now did this meeting take place?
25 A. The meeting with Stephanie, Susan and

 

 

 

Sanders, Gale & Russell
(203) 624-4157

E|ectronica||y signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-45a5-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 16 of 30

 

MONTAGUE V. YALE UNIVERSITY January lO, 2017
Page 111
1 Angie?
2 Q. Yes.
3 A. Yes, it did.
4 Q. Okay. And as a result of that meeting, was
5 some decision made?
6 A. At that meeting, we reviewed the
7 allegations and the information that Angie had

8 gathered. We reviewed the fact that Angie had

9 discussed with ROe that ROe was interested in

10 pursuing an informal resolution.
11 We reviewed the fact that the
12 seriousness of the allegations in this matter and the

13 fact that Jack Montague had previously been through

14 the UWC complaint process, had previously been found

15 to have violated our sexual misconduct policies, and
16 most importantly, the seriousness of these allegations
17 made a formal complaint a more appropriate solution

18 than an informal complaint. One of the reasons we

19 look as to why someone -- whether someone has been

20 through our process before is because should they go
21 through that process and be found in violation and

22 subsequent for that process, an allegation that they

23 violated it again, indicates that they may not have
24 learned from that earlier process, okay. And so
25 that's an indicator.

 

 

 

Sanders, Gale & Russell
(203) 624-4157

E|ectronica||y signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 17 of 30

MONTAGUE V. YALE UNIVERSITY January 10, 2017

 

Page 112

1 So the nature of the allegations and

2 the fact that he had previously been through this

3 policy, or this process, and had previously been found
4 to have violated our policy.

5 Q. All right.

6 A. So we discussed, Angie -- going back to

7 ROe discussed going back to Roe and discussing

8 with ROe whether she would be willing to participate

9 in a formal complaint. This gets back to what we

10 talked about earlier which is would she be a witness
11 and speak to a fact finder in a formal complaint.

12 Q. What did you understand that Angie --

13 strike that. You say you discussed the seriousness of
14 the allegation, the previous finding?

15 A. The fact that he had had a previous finding
16 of a violation.

17 Q. Right. Anything else?

18 A. Those are the two primary factors.

19 Q. All right. What about the fact that you

20 had been told by Angie that she had been told by NW€W

21 that RaChe|ROQeNShad heard about, that there had
22 been another complaint of rape?

23 A. The other complaint, that was knowledge,

24 but it wasn't -- we didn't have any details on it and
25 it wasn't anything, as far as we understood Angie did

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronlcally signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 18 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 113
1 not have any information, nor did she have in that
2 case someone who was willing to speak with her.
3 So there wasn't much we could glean

4 from that, but it certainly was knowledge. But the

5 two things we do know is we had an allegation against
6 him that was quite serious. We had a complainant who
7 was willing to talk about it. And we had knowledge

8 that he had previously violated our policy, And we

9 had a situation like that, a formal complaint,

10 bringing it to a formal complaint so the allegation

11 can be investigated and adjudicated is an appropriate
12 solution.

13 Q. Did the knowledge from ijm|ROgmsabout the
14 issue of another rape complaint play any part in that
15 decision?

16 A. Well, 1 can speak for myself, and the

17 answer is no. For me, the nature of the allegations

18 and the fact that he had previously been through the
19 process and been found to have violated it.

20 Q. Was there any discussion about that

21 previous allegation?

22 A. Other than Angie relating to us what she
23 had heard which at that point was very little.

24 Q. Did you discuss it in that meeting?

25 A. Yes. Angie detailed for Stephanie and for

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronically signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81e0-4585-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 19 of 30

MONTAGUE V. YALE UNIVERSITY January lO, 2017

 

Page 114

1 Susan the information that she had gathered up until
2 that point,

3 Q. What was the decision as to what Angie

4 should do next?

5 A. My understanding was that Angie would go

6 back the ROe and discuss with her whether she would

7 be willing to speak with a fact finder in a formal
8 Complaint.
9 Q. What else did you understand that Angie was

10 going to say to ROe

11 A. 1 don't have any other understanding. That

12 was the -- that was the question that she was going to
13 go back and ask ROe

14 Q. Well, did you understand that she was going

15 to discuss with Roe the pros and cons of

16 participating in a formal complaint as opposed to an
17 informal resolution?
18 A. 1 don't know about that. 1 imagine she

19 would have described for her what the process of

20 participating in a formal complaint involves.

21 Q. Well, did you know that she was --

22 A. But 1'm not aware of pros and cons, 1'm not
23 sure what -- what you mean by that.

24 Q. Well, you had some reasons why you thought
25 a formal complaint was the appropriate way to go,

 

 

 

Sanders, Gale & Russell
(203) 624-4157

E|ectronically signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-45a5-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 20 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 115
1 correct?
2 A. That's correct.
3 Q. And the other persons in that meeting
4 agreed with you, correct?
5 A. 1 can't speak for them.
6 Q. Well, that was the decision that was made,
7 correct?
8 A. The plan was that Angie would go back and

9 speak with ROe
10 Q. And the reasons why according to your -- in
11 your view that the formal complaint was the way to go
12 was because of the seriousness of this one and the

13 prior history of Jack Montague with UWC?

14 A. Those were the primary factors.

15 Q. Right. Now did you understand that Angie

16 was going to relate those factors to ROe

17 A. 1 did not.

18 Q. Well, what did you think Angie was going to
19 say to ROe about what were the reasons to go for a
20 formal complaint as opposed to an informal resolution?
21 A. 1 understood Angie was intending to go back

22 to Roe to discuss the fact that these allegations

23 against Mr. Montague were very serious. And that the
24 university takes that behavior very seriously, and
25 feels the most appropriate course of action would be

 

 

 

Sanders, Gale & Russell
(203) 624-4157

E|ectronica||y signed by JAMES MARTONE (601-171-250~7767) 31a4d12d-81e0-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 21 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 116
1 to bring a formal complaint against him. We
2 understood her desire to be anonymous, we talked about
3 the fact that you can't be anonymous in a formal
4 complaint so she would have to explain that to her.
5 But Title 1X Coordinator could bring

6 the complaint if she would be willing to speak to a

7 fact finder. But 1 can tell you 1'm well aware in our
8 practices, and Angie is well aware, that we do not say
9 to complainants or to anyone the fact that someone has
10 received discipline previously.

11 Q. And that fact, that someone has received

12 discipline previously is confidential, correct?

13 A. We treat it as such, yes.

14 Q. It's covered by the confidentiality policy
15 of Yale, correct?

16 A. It iS.

17 Q. All right. And the facts of that are

18 considered to be, of that prior discipline are

19 considered to be confidential, correct?

20 A. Can you explain what you mean by the facts

21 of that?

22 Q. The allegations?

23 A. The allegations upon which the disciplinary
24 action is based?

25 Q. Yes.

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronlcaliy signed by JAMES MARTON E (601-171-250-7767) 31a4d12d-81e0-4585-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 22 of 30

 

MONTAGUE V. YALE UNIVERSITY January lO, 2017
Page 117
1 A. 1s confidential? Give me an example of
2 what you mean. Would we share the fact that an
3 allegation had been made against someone? 1s that
4 what you're asking?
5 Q. Well, let's ask that question,
6 A. No.
7 Q. That would be confidential?
8 A. Absolutely.
9 Q. And therefore, the specifics of the
10 allegation would be confidential, correct?
11 A. The specifics of the allegation,
12 absolutely. We would not share that information.
13 Q. The fact that he had been found responsible
14 for that allegation would be confidential?
15 A. That's correct. We would not share that.
16 Q. The fact that he was given a sanction, that
17 would be confidental, correct?
18 A. Which sanction are we talking about?
19 Q. Any sanction?
20 A. You've disciplined, such as probation,
21 disciplinary action such as that would not be shared.
22 Q. The fact that as a result of this, he was
23 required to go for training, that would be
24 confidential, correct?
25 A. Required training, which would only come

 

 

 

Sanders, Gale & Russell
(203) 624¢4157

E|ectronlcally signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-8190-45a5-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 23 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 118
1 out after disciplinary process, would be something we
2 would not say to someone.
3 Q. 1n fact, anything you learned as a result
4 of the previous UWC process would be confidential, and
5 should not be disclosed to JamBRoe in that
6 situation, correct?
7 A. Just want to make sure 1 heard this

8 correctly. You said anything that we learned through

9 the UWC process would be confidential, is that the

10 question?
11 Q. Right.
12 A. 1 would say yes, if it was only learned

13 through that process, absolutely.

14 Q. Now as of this time, at the time of this
15 meeting --

16 A. Which meeting just to be clear?

17 Q. The meeting on -- well, let's look at this,

18 1f you look at Exhibit 1. 1t indicates on page 845,

19 the top, Stephanie, Susan, Jason, JMK, 11/4/15, 9:00

20 a.m.

21 A. 1 see that.

22 Q. And would you agree that at least as far as
23 this document indicates, that the meeting where this
24 discussion took place was on the morning of November

25 4th, 2015?

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronica||y signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-45a5-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 24 of 30

 

MONTAGUE v. YALE UNIVERSITY January 10, 2017
Page 119
1 A. That appears to be the case.
2 Q. Okay.
3 A. 1 see this is redacted, so it's not clear
4 to me what was here. But if all you're asking me is

5 does it appear we had a meeting on that date at that

6 time, 1'd say yes.

7 Q. Right.

8 MR. NOONAN: Just to be clear, he

9 can't confirm or deny that it occurred on that date.
10 MR. STERN: I got it.

11 MR. NOONAN: 1 mean there's no doubt

12 that Ms. Gleason testified about this and these are

13 her notes.

14 MR. STERN: She's testified, yes,
15 right.

16 MR. NOONAN: But 1 mean 1 think the

17 problem he's having with the dates is he just doesn't
18 remember. He didn't keep them.

19 MR. STERN: But She did.

20 Q. 1 mean you don't dispute that the meeting

21 took place on November 4th, 2015, at 9:00 a.m., do

22 you?
23 A. 1 don't.
24 Q. Okay. As of the end of this meeting, on

25 the morning of November 4th, is it fair to say that

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronically signed by JAMES MARTON E (601-171-250-7767) 31a4d12d-81e0-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 25 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 120

1 the group had made the decision to bring a formal

2 complaint against Jack Montague if Janei?Oe said
3 she would participate in it?

4 A. 1'd say yes.

5 Q. Now as of this moment, you had never

6 interviewed, you never met Janei?Oe

7 A. No.

8 Q. And neither had Stephanie Spangler nor

9 Susan Sawyer met with her so far as you knew?

10 A. No. As far as 1 know.
11 Q. And as of this point, Roe had met with

12 her once, correct, so far as these documents are
13 concerned?

14 A. 1 can't confirm that.

15 Q. Now you know what it means to have a

16 thorough interview with a complainant, correct?

17 A. Yes. 1 --

18 Q. 1n fact, you told us that what your

19 practice is in doing intake in the Title 1X office is
20 not to press for details, but simply to get what the
21 person wants to tell you, is that right?
22 A. Yes.
23 Q. All right. And so far as you know, is that
24 the practice that Angie followed when she had met with
25 Roe prior to this meeting on November 4th, 2015?

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronlcally signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-8190-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 26 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 116
1 to bring a formal complaint against him. We
2 understood her desire to be anonymous, we talked about
3 the fact that you can't be anonymous in a formal
4 complaint so she would have to explain that to her.
5 But Title 1X Coordinator could bring

6 the complaint if she would be willing to speak to a
7 fact finder. But 1 can tell you 1'm well aware in our

8 practices, and Angie is well aware, that we do not say

9 to complainants or to anyone the fact that someone has
10 received discipline previously.
11 Q. And that fact, that someone has received
12 discipline previously is confidential, correct?
13 A. We treat it as such, yes.
14 Q. 1t's covered by the confidentiality policy
15 of Yale, correct?
16 A. lt iS.
17 Q. All right. And the facts of that are
18 considered to be, of that prior discipline are
19 considered to be confidential, correct?
20 A. Can you explain what you mean by the facts

21 of that?

22 Q. The allegations?

23 A. The allegations upon which the disciplinary
24 action is based?

25 Q. Yes.

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Eiectronicaiiy signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-45a5-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 27 of 30

MONTAGUE V. YALE UNIVERSITY January 10, 2017

 

Page 117

1 A. 1s confidential? Give me an example of

2 what you mean. Would we share the fact that an

3 allegation had been made against someone? 1s that
4 what you're asking?

5 Q. Well, let's ask that question.

6 A. NO.

7 Q. That would be confidential?

8 A. Absolutely.

9 Q. And therefore, the specifics of the

10 allegation would be confidential, correct?

11 A. The specifics of the allegation,

12 absolutely. We would not share that information.
13 Q. The fact that he had been found responsible

14 for that allegation would be confidential?

15 A. That's correct. We would not share that.
16 Q. The fact that he was given a sanction, that
17 would be confidental, correct?

18 A. Which sanction are we talking about?

19 Q. Any sanction?

20 A. You've disciplined, such as probation,

21 disciplinary action such as that would not be shared.
22 Q. The fact that as a result of this, he was
23 required to go for training, that would be

24 confidential, correct?

25 A. Required training, which would only come

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Electronicaiiy signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-45a5-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 28 of 30

 

MONTAGUE V. YALE UNIVERSITY January 10, 2017
Page 118
1 out after disciplinary process, would be something we
2 would not say to someone.
3 Q. 1n fact, anything you learned as a result
4 of the previous UWC process would be confidential, and
5 should not be disclosed to JameROe in that
6 situation, correct?
7 A. Just want to make sure 1 heard this

8 correctly. You said anything that we learned through

9 the UWC process would be confidential, is that the

10 question?
11 Q. Right.
12 A. 1 would say yes, if it was only learned

13 through that process, absolutely.

14 Q. Now as of this time, at the time of this
15 meeting --

16 A. Which meeting just to be clear?

17 Q. The meeting on -- well, let's look at this.
18 1f you look at Exhibit 1. 1t indicates on page 845,

19 the top, Stephanie, Susan, Jason, JMK, 11/4/15, 9:00

20 a.m.

21 A. 1 see that.

22 Q. And would you agree that at least as far as
23 this document indicates, that the meeting where this
24 discussion took place was on the morning of November

25 4th, 2015?

 

 

 

Sanders, Gale & Russell
(203) 624-4157

E|ectronica||y signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81e0-45a5-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 29 of 30

MONTAGUE v. YALE UNIVERSITY January 10, 2017

 

Page 131

1 Q. 1'm asking you if Angie told you at any

2 point that she said that she would not be able to keep

3 ROe name confidential?

4 A. So 1'm reading this one sentence completely
5 out of context. As 1 said to you a moment ago in the
6 process of having, serving as a witness in a formal

7 complaint and speaking to a fact finder, you can't be
8 confidential, or anonymous. People use those words

9 interchangeably.
10 1f you are going to testify to or
11 provide testimony to the fact finder, your name will

12 be included in the report, 1 don't know if that's

13 what this refers to or not. But -- because it's one
14 sentence completely out of context.
15 Q. 1'm not asking you to interpret this, Mr.

16 Killheffer.

17 A. Right.

18 Q. 1'm asking you a question which is, did she
19 ever tell you that she would --

20 MR. NOONAN: She meaning who?

21 Q. Did Angie ever tell you that she told ROe
22 that she would not be able to keep her name

23 confidential?

24 A. That was part of what we discussed about

25 the formal complaint process. And she told me that

 

 

 

Sanders, Gale & Russell
(203) 624~4157

E|ectronica||y signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-4535-b5d0-50b58814fcad

Case 3:16-CV-00885-AVC Document 157-17 Filed 07/18/18 Page 30 of 30

MONTAGUE V. YALE UNIVERSITY January 10, 2017

 

Page 145

1 A. There's a lot of ifs here. Didn't

2 participate in any UWC proceeding. But if Angie

3 learned from me that Jack Montague was required to

4 take sensitivity training, that information was

5 confidential.

6 Q. Let's take out the words "was required." 1
7 want to be very clear. 1f she learned that he had

8 taken sensitivity training, and that information came
9 only from information held by the Title 1X office

10 because of the UWC proceeding, that would be

11 confidential, correct?

12 A. That's correct.

13 Q. Now going further in this paragraph, it
14 says "She," this is again ROe statement. "She,

15 referring to Angie, "told me that she would not be

16 doing her job if she did not take more serious action,
17 and she asked for my participation in the case." You
18 see that?

19 A. 1 do see that.

20 Q. Now was she authorized to say that she

21 would not be doing her job if she did not take more

22 serious action?

23 A. Did she request my permission to say that?
24 Q. 1s that an appropriate thing for a Title 1X
25 Coordinator to say?

 

 

 

Sanders, Gale & Russell
(203) 624-4157

Eiectronically signed by JAMES MARTONE (601-171-250-7767) 31a4d12d-81eO-45a5-b5d0-50b58814fcad

